                  Case 8:04-cr-00235-DKC Document 1497 Filed 03/22/12 Page 1 of 1


                                                                                                        6500 CHERRYWOOD         LANE
    WILLIAM CONNELLY
                                                                                                     GREEN BELL fvlARYLAND       20770
UNITED STATES MAGISTRATE ,JUDGE
                                                                                                              (301) 344.062.7




                                                                     March 22, 2012


        l.a'Von Dobie, #38360-037
                                                                                                   MAR 22 2012
        U.S. Penitentiary - J la7.ellon
                                                                                                       AT GREENBELT
        SFF-lli\Z.f2104L                                                                         Q.ERK u.s. DBTRICT COURT
        PO Box 3000                                                                               •••.••.   CI'~
        Brucetown     Mills, WV 26525                                                                              flVY DII"UlY

                        . Rc:      Appointment 01' Counsel
                                   Case No.: R'vVT 04-0ns

        f)ear i\Jls. Dohie:

                 Your Motion for A ppointlllcnt or Counsel        ri led with the Court on March 15, 2012 is
        approved. I am appointing the following attorney          10 represent   you for the purpose of re-
        sentencing on Count One of the indictment:

                                                   Mirrial1l Seddiq, Esq.
                                             641 I Orchard /\ venue, Suite 103
                                              Takoma Park. Maryland 20912
                                                     (202) M2-1697

                 \lls. SeJdiq's   fees and expenses will be paid by the Court.

                 By eopy of this letter. I am notifying f'vls. Sedcliq as well as Deborah Johnston, Assistant
        l::niled St8tes /\ttorne)/ or my action.

                                                                    Sincerely.


                                                                    ~ ~'-~ '=:-.:-~~
                                                                    William Connelly
                                                                    United Slates Magistrate    Judge

        ec:      Deborah Johnston, AUSA
                 Mirriam Seddiq, Esq.
                 Donna Shearer, CIA Supervising       i\llorney
                 Court File
